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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA
                                                                 No. 17-cr-365 (RJS)
          -v-
                                                                      ORDER
 VICTOR PETERSON,

                        Supervisee.


RICHARD J. SULLIVAN, Circuit Judge:

         IT IS HEREBY ORDERED that Supervisee Victor Peterson shall appear before this Court

on January 20, 2021 at 11:00 a.m. for a status conference concerning the specifications of

violations of supervised release alleged by the Probation Office. In light of the ongoing COVID-

19 pandemic, IT IS HEREBY ORDERED THAT by Wednesday, January 13, 2021, Peterson and

his attorney advisor, John F. Kaley, shall advise the Court in writing whether Peterson prefers to

appear in person or remotely via videoconference. If the latter, counsel shall review with Peterson

the attached Waiver of Right to be Present at Criminal Proceeding form, which shall then be

executed and submitted to the Court. The Court will then issue further instructions concerning the

requested videoconference.

SO ORDERED.

Dated:          January 11, 2021
                New York, New York


                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                WAIVER OF RIGHT TO BE PRESENT AT
                                  -v-                                           CRIMINAL PROCEEDING

VICTOR PETERSON,                                                                   17-cr-365 (RJS)
                                               Supervisee.
-----------------------------------------------------------------X


___        Supervised Release Conference

           I understand that I have a right to appear before a judge in a courtroom in the Southern District of New
           York at the time the conditions of my release on supervision or my remand to custody are discussed. I have
           discussed these rights with my attorney and wish to give up these rights for the period of time in which
           access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that my
           attorney and I be permitted to participate by telephone, or if it is reasonably available by videoconferencing,
           in any conference with the court at which such conditions or my remand are discussed.

Date:                  ____________________________
                       Signature of Defendant


                       ____________________________
                       Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the specifications of violation of supervised
release, my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this
waiver form. I affirm that my client knowingly and voluntarily consents to the proceedings being held without my
client being physically present in court.

Date:                  ____________________________
                       Signature of Defense Counsel


                       ____________________________
                       Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.


Date:                  _________________________
                       Signature of Defense Counsel



Accepted:              ________________________
                       Signature of Judge
                       Date:
